                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      No. 3:13-00121
                                                  )      JUDGE CAMPBELL
EMILIA TIRADO-MEDINA

                                           ORDER

        Pending before the Court is the Defendant’s Notice Of Withdrawal Of Motion to

Turnover Cellphone (Docket No. 38). Through the Motion, the Defendant seeks to withdraw his

Motion For Turnover Of Cell Phone, Or Alternatively, The Downloaded Photos On Cell Phone

(Docket No. 37). Accordingly, the Motion For Turnover Of Cellphone (Docket No. 37) is

considered WITHDRAWN and no longer pending for decision.

        It is so ORDERED.

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                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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